Case 08-14631-GMB Doc 266-11 Filed 05/10/08 Entered 05/10/08 05:11:51 Desc
   Proposed Order Granting Motion to Compel Administrative Expense Page 1 of 3


PPG\Shapes-Arch Holdings, LLC\proposed order



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___________________________________
In re:                              : UNITED STATES BANKRUPTCY COURT
SHAPES/ARCH HOLDINGS, LLC,          : DISTRICT OF NEW JERSEY
et al.,                             : Chapter 11 Case Nos. 08-14631 through
                      Debtors       :   08-14635 (GMB) (jointly administered)
                                    : Hearing Date: June 9, 2008, 10:00 A.M.
___________________________________ : Oral Argument Requested if Opposed

Recommended Local Form:                        X Followed ____ Modified

                               ORDER GRANTING MOTION
               TO COMPEL PAYMENT OF ADMINISTRATIVE EXPENSE CLAIMS
               PURSUANT TO 11 U.S.C. §§ 105(a), 363(b), 364(b), 503(a) AND 503(b)(9),
                      FILED ON BEHALF OF PPG INDUSTRIES, INC.

             The relief set forth on the following pages, numbered two (2) and three (3) is hereby

ORDERED.

Dated: _______________, 2008
       Camden, New Jersey
                                                                BY THE COURT:


                                                                _______________________________
                                                                Honorable Gloria M. Burns
                                                                United States Bankruptcy Judge
Case 08-14631-GMB Doc 266-11 Filed 05/10/08 Entered 05/10/08 05:11:51 Desc
   Proposed Order Granting Motion to Compel Administrative Expense Page 2 of 3




                          ORDER GRANTING MOTION
           TO COMPEL PAYMENT OF ADMINISTRATIVE EXPENSE CLAIMS
          PURSUANT TO 11 U.S.C. §§ 105(a), 363(b), 364(b), 503(a) AND 503(b)(9),
                  FILED ON BEHALF OF PPG INDUSTRIES, INC.

       THIS MATTER having been opened to the Court by PPG Industries, Inc., by and

through its counsel, upon Motion to Compel Payment of Administrative Expense Claims

Pursuant to 11 U.S.C. §§ 105(a), 363(b), 364(b), 503(a) and 503(b)(9) filed on behalf of PPG

Industries, Inc. (the “Motion”), and good and sufficient notice of the hearing on the Motion

having been provided, and the Court having considered the moving papers, the opposition

thereto, if any, and the oral arguments of counsel, and the Court having determined that good

cause exists for the entry of this Order,

       IT IS ORDERED, that the Motion is GRANTED; and.

       IT IS FURTHER ORDERED that PPG Industries, Inc. is hereby allowed an unsecured

claim entitled to administrative priority against the Debtor, Accu-Weld, LLC, in the amount of

$_________________, said claim being afforded administrative priority in accordance with 11

U.S.C. §§ 503(a) and 503(b)(9); and

       IT IS FURTHER ORDERED that PPG Industries, Inc. is hereby allowed an unsecured

claim entitled to administrative priority against the Debtor, Shapes, LLC, in the amount of

$_________________, said claim being afforded administrative priority in accordance with 11

U.S.C. §§ 503(a) and 503(b)(9); and

       IT IS FURTHER ORDERED that foregoing administrative claims shall be deemed to

have been filed in the respective bankruptcy cases of Accu-Weld, LLC and Shapes, LLC,

without the need for separate or further filings therein by PPG Industries, Inc.; and

                                                 2
Case 08-14631-GMB Doc 266-11 Filed 05/10/08 Entered 05/10/08 05:11:51 Desc
   Proposed Order Granting Motion to Compel Administrative Expense Page 3 of 3




       IT IS FURTHER ORDERED that the Movant shall serve a copy of this Order on the

Debtors, any trustee and any other party who entered an appearance on the Motion.




                                              -3-
